22-00401-mg        Doc 3      Filed 08/27/22 Entered 08/28/22 00:08:18                    Imaged Certificate
                                        of Notice Pg 1 of 5
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 !"#$%&'($)$%('*)"+,!-$./'.0!,$''
 (0!$1%,"'&#($,#.$'02'"%3'/0,+'
 444444444444444444444444444444444444444444444444444444444444445'
 #6'789' '         '        '        '        '        '       9'
 '        '        '        '        '        '        '       9' '
 :)$$%,'02'.%,$)#"'.;)#:(')"&'' '                              9' '      '
 "0$#.#"<')<%"$(=',%.%#-$'02'2%%('#"'                          9' :>?@A'-7BA'"BA'CC4DDEDFG:<H'
 .0""%.$#0"'3#$1'!")!$10,#I%&' '                               9'
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 '        '        '        '        '        '        '       9'
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 '
 '        31%,%)(J'>6'KL6M7NOP@Q'@L?8?'R>PS'L'TL7U8'6NVK87'BW'@78X>PB7?'L6X'8YN>PQ'?8@N7>PQ'
 SBTX87?J'L'@TL>V?'L6X'6BP>@>6U'LU86P'GL'Z@TL>V?'LU86P[H'>?'7BNP>68TQ'78PL>68X'PB'L??>?P'PS8'.T87M'BW'
 .BN7P'R>PS'@87PL>6'LXV>6>?P7LP>\8'PL?M?'O87PL>6>6U'PB'O7B\>X>6U'6BP>@8?'PB'OL7P>8?'L6X'O7B@8??>6U'
 O7BBW?'BW'@TL>V]'
 '
 '        31%,%)(J'PS8'.T87M'BW'.BN7P'SL?'LOO7B\8X'@87PL>6'O7>\LP8'86P>P>8?'G@BTT8@P>\8TQJ'PS8'
 Z)OO7B\8X'.TL>V?')U86P?[H'PB'K8'78PL>68X'>6'KL6M7NOP@Q'@L?8?'PB'L@P'L?'S>?'LU86P'PB'L??>?P'R>PS'
 ?N@S'LXV>6>?P7LP>\8'PL?M?]'
 '
 '        31%,%)(J'PS8'78P86P>B6'BW'@TL>V?'LU86P?'>?'UB\8768X'KQ'C^'!A(A.A'_'F`aG@HJ'(A&A"A/A'
 ;*,'`Db`4FJ'L6X'PS>?'.BN7P=?'-7BPB@BT'WB7'PS8'%VOTBQV86P'BW'.TL>V?'L6X'"BP>@>6U')U86P?'
 !6X87'C^'!A(A.A'_'F`aG@H'GPS8'Z(&"/'-7BPB@BT[H]'
 '
 '        31%,%)(J'>6'PS8'OL?P'?8\87LT'Q8L7?J'@87PL>6'BW'PS8')OO7B\8X'.TL>V?')U86P?'86P878X'
 >6PB'@B6P7L@P?'R>PS'5@TL>V'#6@A'GZ5@TL>V[H'c'L6'86P>PQ'PSLP'BO87LP8?'L'@TL>V?4P7LX>6U'R8K?>P8'c'PB'
 ?Q6@S7B6>d8'@TL>V?'78U>?P87?'L6X'O7BBW?'BW'@TL>V'PB'PS8'5@TL>V'R8K?>P8'RS878'?N@S'@TL>V?'L78'
 OB?P8X'WB7'?LT8'GPS8'Z(Q6@S7B6>dLP>B6')U788V86P?[H]'
 '
 '        31%,%)(J'N6X87'PS8'(Q6@S7B6>dLP>B6')U788V86P?J'5@TL>V'OL>X'PS8'OL7P>@>OLP>6U'
 )OO7B\8X'.TL>V?')U86P'L'W88'GPS8'Z288[H'8YNLT'PB'L'O87@86PLU8'BW'PS8'@BVV>??>B6?'5@TL>V'
 @BTT8@P8X'W7BV'N?87?'WB7'WL@>T>PLP>6U'@TL>V?'P7LX8?'B6'5@TL>V=?'R8K?>P8]'
 '
 '        31%,%)(J'N6P>T'78@86PTQ'RS86'PS8'eNXU8?'BW'PS>?'.BN7P'K8UL6'>6YN>7>6U'LKBNP'PS8?8'
 L77L6U8V86P?'>6'BO86'@BN7PJ'PS8'8f>?P86@8'BW'PS8'(Q6@S7B6>dLP>B6')U788V86P?'L6X'78@8>OP'BW'PS8'
 288'RL?'6BP'X>?@TB?8X'>6'@TL>V?4LU86P'78P86P>B6'LOOT>@LP>B6?'B7'BPS87R>?8]'
 '
 '        31%,%)(J'>6'!"#$%#&'()*+"#,-.'$%#/+0*#1#2)$3*#43.56#!"78J'.L?8'"BA'CC4FDgFD'
 G(1;HJ'eNXU8'(8L6'1A';L68J'KQ'K86@S'7NT>6U'B6'eNTQ'CDJ'CDCC'h%.2'"BA'^CiJ'78j8@P8X'PS8'
 L7UNV86P?'ONP'WB7RL7X'KQ')OO7B\8X'.TL>V?')U86P'%O>Y'.B7OB7LP8',8?P7N@PN7>6UJ';;.'GZ%O>Y[H'
 L6X'5@TL>V'L6X'X86>8X'%O>Y=?'78P86P>B6'L?'@TL>V?'LU86P'PB'PS8'8fP86P'PS8'@TL>V?'78U>?P87'>6'PS8'
 @L?8'RL?'?NKj8@P'PB'PS8'(Q6@S7B6>dLP>B6')U788V86P'K8PR886'PS8'OL7P>8?]'
 '

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 '       31%,%)(J'eNXU8';L68'WBTTBR8X'NO'S>?'K86@S'7NT>6U'>6'&'()*+"#,-.'$%#/+0*#1#2)$3*#
 43.5'R>PS'L'R7>PP86'BO>6>B6'GZ&'()*+"#,-.'$%#9:)")+"[H'h%.2'"BA'FEki'8fOTL>6>6U'PSLP'PS8'
 (Q6@S7B6>dLP>B6')U788V86P'\>BTLP8X'C^'!A(A.A'_'F`aG@H'L6X'PS8'(&"/'-7BPB@BT'K8@LN?8J'LVB6U'
 BPS87'PS>6U?J'PS8'LU788V86P'78YN>78?'%O>Y'PB'O87WB7V'L@P>\>P>8?'PSLP'PS8'.T87M'@BNTX'6BP'86ULU8'>6J'
 >6'8f@SL6U8'WB7'L'288'PSLP'PS8'.T87M'@BNTX'6BP'@SL7U8J'L6X'RS>@S'>?'OL>X'W7BV'L'?BN7@8'6BP'
 LNPSB7>d8X'KQ'PS8'?PLPNP8]'
 '
 '       31%,%)(J'%O>Y'L6X'@87PL>6'BPS87')OO7B\8X'.TL>V?')U86P?'SL\8'O87WB7V8XJ'L6X'VLQ'
 K8'@B6P>6N>6U'PB'O87WB7VJ'L@P>\>P>8?'N6X87'(Q6@S7B6>dLP>B6')U788V86P?'R>PS'5@TL>V'>6'8f@SL6U8'
 WB7'N6LNPSB7>d8X'288?]'L6X'
 '
 '       31%,%)(J'PS8'.BN7PJ'NOB6'78\>8R'BW'PS8'6BP>@8?'PB'K8'W>T8X'KQ'PS8')OO7B\8X'.TL>V?'
 )U86P?'L?'?8P'WB7PS'S878>6J'?NK?8YN86P'K7>8W>6U'KQ'>6P878?P8X'OL7P>8?'>6@TNX>6U'PS8'!6>P8X'(PLP8?'
 $7N?P88'B6'LOO7BO7>LP8'?L6@P>B6?J'L6X'L6Q'WN7PS87'O7B@88X>6U?'L?'68@8??L7QJ'VLQJ'LWP87'6BP>@8'L6X'
 L'S8L7>6UJ'>VOB?8'?L6@P>B6?'B6'PS8')OO7B\8X'.TL>V?')U86P?'RSB'SL\8'O87WB7V8X'N6X87'L'
 (Q6@S7B6>dLP>B6')U788V86P'L6X'78@8>\8X'N6LNPSB7>d8X'288?J'>6@TNX>6U'OB??>KT8'?N?O86?>B6'W7BV'
 PS8'.T87M'BW'.BN7P=?'T>?P'BW')OO7B\8X'.TL>V?')U86P?'L6XlB7'X>?UB7U8V86P'BW'288?'78@8>\8XA'
 '
 '
 '       "03J'$1%,%20,%J'#$'#('0,&%,%&'PSLPJ'B6'B7'K8WB78'(8OP8VK87'FaJ'CDCCJ'8L@S'
 )OO7B\8X'.TL>V?')U86P'?SLTT'W>T8'L'6BP>@8'B6'PS8'XB@M8P'BW'PS>?'V>?@8TTL68BN?'O7B@88X>6U'PSLP'
 >6@TNX8?9''
 '
     •! L'X8?@7>OP>B6'BW'L6Q'@N7786P'B7'WB7V87'KN?>68??'L77L6U8V86P'R>PS'5@TL>VJ'PS8'?PLPN?'BW'
         L6Q'?N@S'L77L6U8V86PJ'L'@BOQ'BW'L6Q'L6X'LTT'LU788V86P?'V8VB7>LT>d>6U'L6Q'?N@S'
         L77L6U8V86PJ'L6X'T>?P'BW'LTT'XLP8?'>6'RS>@S'PS8')OO7B\8X'.TL>V?')U86P'P7L6?V>PP8X'@TL>V?'
         XLPL'PB'5@TL>V'BPS87'PSL6'>6'L'WB7VLP'L?'O7B\>X8X'PB'PS8'ONKT>@'B6'PS8')OO7B\8X'.TL>V?'
         )U86P=?'R8K?>P8]'
         '
     •! L6'L@@BN6P>6U'BW'L6Q'L6X'LTT'W88?J'@B?P?J'L6X'78>VKN7?8V86P?'78@8>\8XJ'B7'PB'K8'78@8>\8XJ'
         W7BV'5@TL>V'PS7BNUS'PS8'XLP8'BW'PS8'W>T>6U'BW'PS8'6BP>@8'>6@TNX>6U'PS8'XLP8J'B7'L6P>@>OLP8X'
         XLP8'G>W'OLQV86P'>?'8fO8@P8X'>6'PS8'WNPN78HJ'BW'8L@S'OLQV86P]!'
         '
     •! L'T>?P'BW'PS8'KL6M7NOP@Q'@L?8?J'R>PS'L'6BPLP>B6'>6X>@LP>6U'PS8'X>?P7>@P'>6'RS>@S'PS8'@L?8'RL?'
         W>T8XJ'>6'RS>@S'PS8')OO7B\8X'.TL>V?')U86P'?87\8X'L?'L'@BN7P4LOO7B\8X'@TL>V?'LU86P'L6X'
         5@TL>V'WL@>T>PLP8X'LP'T8L?P'B68'@TL>V?'P7LX8'W7BV'RS>@S'PS8')OO7B\8X'.TL>V?')U86P'




                                   !
 !
  !!       "#$!%&&'()$*!+,-./0!%1$23!/403!.25,4*$!-,,!6$$07!5(0307!-2*!'$./84'0$/$230!9#$3#$'!3#$:!9$'$!'$5$.)$*!
 .2!'$,-3.(2!3(!8-2;'4&35:!5-0$0!.2!3#$!<(43#$'2!=.03'.53!(6!>$9!?(';!('!-2:!(3#$'!*.03'.53@!


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22-00401-mg            Doc 3        Filed 08/27/22 Entered 08/28/22 00:08:18                                 Imaged Certificate
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        78@8>\8XJ'B7'R>TT'78@8>\8J'L'288'B7'L6Q'BPS87'OLQV86P'B7'78>VKN7?8V86P'W7BV'5@TL>V]"''
        '
     •! L'X8?@7>OP>B6'BW'L6Q'BPS87'B7LT'B7'R7>PP86'LU788V86P?'B7'L77L6U8V86P?'R>PS'PS>7X'OL7P>8?'
        R>PS>6'W>\8'Q8L7?'BW'PS8'XLP8'BW'PS>?'07X87'>6'RS>@S'PS8')OO7B\8X'.TL>V?')U86PJ'L@P>6U'>6'
        >P?'@LOL@>PQ'L?'L'@TL>V?'LU86P'N6X87'C^'!A(A.A'_'F`aG@H'L?'X8?@7>K8X'>6'PS8'&'()*+"#
        ,-.'$%#9:)")+"J'SL?'O87WB7V8X'L'PL?M'PSLP'PS8'.T87M'@BNTX'6BP'O87WB7V'B7'SL?'78@8>\8X'L'
        W88'B7'78>VKN7?8V86P'BPS87'PSL6'W7BV'PS8'KL6M7NOP@Q'8?PLP8]'
        '
     •! L6'L@@BN6P>6U'BW'L6Q'L6X'LTT'W88?J'@B?P?J'L6X'78>VKN7?8V86P?'78@8>\8XJ'B7'PB'K8'78@8>\8XJ'
        W7BV'?N@S'PS>7X'OL7P>8?'PS7BNUS'PS8'XLP8'BW'PS8'W>T>6U'BW'PS8'6BP>@8'>6@TNX>6U'PS8'XLP8J'B7'
        L6P>@>OLP8X'XLP8'G>W'OLQV86P'>?'8fO8@P8X'>6'PS8'WNPN78HJ'BW'8L@S'OLQV86P]#'L6X'
 '
       •! L'T>?P'BW'PS8'KL6M7NOP@Q'@L?8?J'R>PS'L'6BPLP>B6'>6X>@LP>6U'PS8'X>?P7>@P'>6'RS>@S'PS8'@L?8'RL?'
             W>T8XJ'>6'RS>@S'PS8')OO7B\8X'.TL>V?')U86P'?87\8X'L?'L'@BN7P4LOO7B\8X'@TL>V?'LU86P'L6X'
             ?N@S'PS>7X'OL7P>8?'WL@>T>PLP8X'LP'T8L?P'B68'@TL>V?'P7LX8'W7BV'RS>@S'PS8')OO7B\8X'.TL>V?'
             )U86P'78@8>\8XJ'B7'R>TT'78@8>\8J'L'W88'B7'L6Q'BPS87'OLQV86P'B7'78>VKN7?8V86P'W7BV'?N@S'
             PS>7X'OL7P>8?A$'
             '
 '           #$'#('2!,$1%,'0,&%,%&'PSLP'PS8'.BN7P'?SLTT'78PL>6'jN7>?X>@P>B6'R>PS'78?O8@P'PB'LTT'
 VLPP87?'L7>?>6U'W7BV'B7'78TLP8X'PB'PS8'>VOT8V86PLP>B6J'>6P87O78PLP>B6J'L6X'86WB7@8V86P'BW'PS>?'
 07X87A'
 '
 &LP8X9')NUN?P'C`J'CDCC'
 !!!!!!!!!!!!!!!"8R'/B7MJ'"/'        '        '
 '

                                                              !!!!!!!!   Martin Glenn!!!!!!!!"
                                                                      :),$#"'<;%""'
                                                             .S>8W'!6>P8X'(PLP8?'*L6M7NOP@Q'eNXU8'
           '

 '




                                      !
 "
  !!        "#.0!,.03!/403!.25,4*$!5-0$0!6.,$*!.2!3#$!<(43#$'2!=.03'.53!(6!>$9!?(';!-0!9$,,!-0!5-0$0!6.,$*!.2!-2:!(3#$'!
 *.03'.53@!
 #
   !!      "#$!%&&'()$*!+,-./0!%1$23!/403!.25,4*$!-,,!6$$07!5(0307!-2*!'$./84'0$/$230!9#$3#$'!3#$:!9$'$!'$5$.)$*!
 .2!'$,-3.(2!3(!8-2;'4&35:!5-0$0!.2!3#$!<(43#$'2!=.03'.53!(6!>$9!?(';!('!-2:!(3#$'!*.03'.53@!
 $
  !!        "#.0!,.03!/403!.25,4*$!5-0$0!6.,$*!.2!3#$!<(43#$'2!=.03'.53!(6!>$9!?(';!-0!9$,,!-0!5-0$0!6.,$*!.2!-2:!(3#$'!
 *.03'.53@!


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           22-00401-mg             Doc 3         Filed 08/27/22 Entered 08/28/22 00:08:18                                     Imaged Certificate
                                                           of Notice Pg 4 of 5
                                                              United States Bankruptcy Court
                                                              Southern District of New York
In re:                                                                                                                 Case No. 22-00401-mg
MATTER OF CERTAIN CLAIMS AND NOTICING AG                                                                               Chapter
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0208-1                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Aug 25, 2022                                               Form ID: pdf001                                                           Total Noticed: 10
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Aug 27, 2022:
Recip ID                   Recipient Name and Address
intp                   +   American Legal Claim Services LLC, 8021 Philips Highway, Suite 1, Attn: Jefrey Pirrung, Jacksonville, FL 32256-7460
intp                   +   BMC Group, Inc, 3732 West 120th Street, Attn: Tinamarie Feil, Hawthorne, CA 90250-3202
intp                   +   CPT Group, Inc., 50 Corporate Park, Irvine, CA 92606-5105
intp                   +   Donlin, Recano & Company, Inc., 6201 15th Avenue, Attn: Lillian Jordan & Nellwyn Voorhie, Brooklyn, NY 11219-5411
intp                   +   Epiq Corporate Restructuring, LLC, 777 Third Avenue, 12th Floor, Attn: Brad Tuttle, New York, NY 10017-1302
intp                   +   Kurtzman Carson Consultants LLC, 222 N. Pacific Coast Highway, Suite 300, Attn: Evan Gershbein, El Segundo, CA 90245-5614
intp                   +   Logan & Company, Inc., 546 Valley Rd., Attn: Kevin Sayers, Upper Montclair, NJ 07043-1871
intp                   +   Omni Agent Solutions, 5955 De Soto Avenue, Suite 100, Attn: Brian Osborne, CEO, Woodland Hills, CA 91367-5100
intp                   +   Stretto, 8269 E. 23rd Avenue, Suite 275, Attn: Robert Klamser, Denver, CO 80238-3597

TOTAL: 9

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
intp                       Email/Text: EBN@primeclerk.com
                                                                                        Aug 25 2022 18:58:00      Kroll Restructuring Administration LLC, (f/k/a
                                                                                                                  Prime Clerk LLC), 55 East 52nd Street, 17th
                                                                                                                  Floor, Attn: Christina Pullo & Benjamin Steele,
                                                                                                                  New York, NY 10055

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
pla                            MATTER OF CERTAIN CLAIMS AND NOTICING AGENTS' RECE

TOTAL: 1 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Aug 27, 2022                                            Signature:           /s/Gustava Winters
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District/off: 0208-1                                              User: admin                                                           Page 2 of 2
Date Rcvd: Aug 25, 2022                                           Form ID: pdf001                                                     Total Noticed: 10

                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on August 25, 2022 at the address(es) listed
below:
Name                             Email Address
United States Trustee
                                 USTPRegion02.NYECF@USDOJ.GOV


TOTAL: 1
